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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA


Paul Abraham,                        )
                                     )
               Plaintiff,            )                Civil Action No. 8:20-3272-RMG
                                     )
               vs.                   )
                                     )
Kilolo Kijakazi, Acting Commissioner )
of Social Security,                  )                      ORDER
                                     )
               Defendant.            )
                                     )
____________________________________)

       This matter comes before the Court for judicial review of the final decision of the

Commissioner of Social Security denying Plaintiff’s application for Disability Insurance

Benefits (“DIB”). The Magistrate Judge issued a Report and Recommendation (R & R) on

September 29, 2021, recommending that the decision of the Commissioner be reversed and

remanded to the agency because the Administrative Law Judge (“ALJ”) erroneously found that

there was not medically objective evidence in the record to support Plaintiff’s claim of carpal

tunnel syndrome (“CTS”) as a severe impairment. (Dkt. No. 20 at 17-20). In fact, an EMG and

nerve conducting study diagnosed the presence of moderate to severe CTS. (Id. at 16). The

Acting Commissioner has advised the Court that she does not intend to file objections to the R &

R. (Dkt. No. 21).

       The Court has reviewed the R & R and the record evidence and finds that the Magistrate

Judge has ably addressed the factual and legal issues in this matter. Therefore, the Court

ADOPTS the Report and Recommendation as the order of this Court, REVERSES the decision

of the Commissioner pursuant to Sentence Four of 42 U.S.C. § 405(g), and REMANDS the

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matter to the Commissioner for further proceedings consistent with this order.

       AND IT IS SO ORDERED.




                                                     S/ Richard Mark Gergel
                                                     Richard Mark Gergel
                                                     United States District Judge


Charleston, South Carolina
October 13, 2021




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